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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 HORACE CLAIBORNE, SONJIA                              CIVIL ACTION
 MONIQUE BOWLIN, TYSHAWN
 WALKER, DEZRAE KAUHANE, WILLIE                        No. 2:18-cv-01698-RJC
 SEALS, FREDERICK EPPICH, JEROME
 SCHOOLFIELD, KRISTINA TRAVIS,
 JEREMY WINKELS, DANIEL
 FORRESTER, MARK DAVID GRIFFETH,
 DOUGLAS RUSSELL, KENNETH
 BURTON, GERALD GENSOLI, and
 THOMAS DEPPIESSE, on behalf of
 themselves and others similarly situated,

                Plaintiffs,

 v.

 FEDEX GROUND PACKAGE SYSTEM, INC.,

                Defendant.



 ORDER GRANTING DEFENDANT FEDEX GROUND PACKAGE SYSTEM, INC.’S
    UNOPPOSED MOTION TO DISMISS WITH PREJUDICE CERTAIN OPT-IN
PLAINTIFFS WHO FAILED TO COMPLY WITH THE COURT’S DECEMBER 7, 2021,
                        DISCOVERY ORDER


       This matter having come before the Court on Defendant FedEx Ground Package System,

Inc.’s Unopposed Motion to Dismiss with Prejudice Certain Opt-In Plaintiffs Who Failed to

Comply with the Court’s December 7, 2021, Discovery Order, (ECF No. 348) and the Court

being fully advised, it is hereby ordered that the motion is granted for the reasons set forth in the

motion. As agreed to by the parties, opt-in Brandon Guymon is excluded from this order.

       The opt-in Plaintiffs identified in Exhibit A to FedEx Ground’s unopposed motion (ECF

349-1), with the exception of Brandon Guymon, are hereby dismissed with prejudice.




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